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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

  UNITED STATES OF AMERICA                     §
                                               §           No. 6:20-CR-97-05
  v.                                           §
                                               §           JUDGES JCB/JDL
  SHY ANNE ROGERS (05)                         §

                              ELEMENTS OF THE OFFENSE

          You are charged in Count 1 of the indictment with a violation of 21 U.S.C. § 846

 (conspiracy to possess and possession with intent to distribute controlled substances).

 The essential elements which must be proven to establish violation of this offense are as

 follows:

                                             Count 1

                                         21 U.S.C. § 846

 First:          That within the time frame alleged in the indictment, you and other persons,
                 directly or indirectly, reached an agreement to distribute controlled
                 substances, namely, methamphetamine, a Schedule II controlled substance;

 Second:         That you knew of the unlawful purpose of the agreement;

 Third:          That you joined in the agreement willfully, that is, with the intent to
                 further its unlawful purpose;

 Fourth:         That the conspiracy involved 50 grams or more of actual
                 methamphetamine or 500 grams or more of a mixture or substance
                 containing a detectable amount of methamphetamine; and

 Fifth:          That you knew or reasonably should have known that the scope of
                 the conspiracy involved 50 grams or more of actual
                 methamphetamine or 500 grams or more of a mixture or substance
                 containing a detectable amount of methamphetamine.

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                                                   NICHOLAS J. GANJEI
                                                   ACTING U.S. ATTORNEY

                                                   /s/ D. Ryan Locker
                                                   D. RYAN LOCKER
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                           CERTIFICATE OF CONFERENCE

         I certify that I have consulted with counsel for the defendant on or about the date
 of filing, and said counsel does not oppose the filing of this notice.

                                                   D. Ryan Locker______________
                                                   D. RYAN LOCKER
                                                   Assistant U.S. Attorney



                              CERTIFICATE OF SERVICE

        I certify that I have this day served counsel for the defendant with a true and
 correct copy of this pleading by the court’s CM/ECF electronic filing system.

                                                   D. Ryan Locker
                                                   D. RYAN LOCKER
                                                   Assistant U.S. Attorney




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